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price on ii ssi tnat is his sentiment and of his Feople.

its seys‘ mist cy in always willing to do what time great father
says and or :)nrse the majority oj'the Cheyennes and Arspehoes
are on tie oteri side and l went my party to ge en the rinht
read ann the arnpatoes too. ne says that he is Willing to
come te the trtnt and looks to the agent and all good peoyle to
advise him P: \hnt the anent will he here 4 years and the th
he says to y) or in the right wey. he seys that the sentiment

  

 

and feeliny; ~1 i; people srs the same as yesterday ane their
minds are al'~edy settleo end today they are the same end this
is our last wi::iny. Le s ’e thrt they are always willing in
any why when inc sheet Fatner sends you here and when you t:lk
to him down nlnt We are opposed to him. .
[Row oi` iie:i: -: _ ['es‘._\<-rr*:_‘;,\' the l)onmis:sioners were here
and what we ,i. to them yesterl we are the same way today
We stll! :L th to tne hl.ei and l have been kept away
from my Lee\ V»‘ several days eni I want to net heek.

(White hve =: lope, A.) We heard that you lemmissioners

e&ne out cert talk about the land and l have been Finurinn
what 1 whole .: nho:' the land. ne save that this lend was
given to tin the great father end it is need land and everv
_ tnj_mr t`net - = .i' :,r. is noon e_n we clen't want to give it tip
for a smaller .a en heceese l know that this olntry is a
good country 1:: the reason th:t l wanted leo acres of land for
each man, womtm set child is bee lee we are noing to raise
stock mere thwi Farming. he news when you Commiesioners
went tnem to ake their lanes in severalty that they are will~
ing to eo, he the ;riee yee et§er for their land they are not
willing to tat\rhet. ne save that he is 50 years old now and

 

 

 

has many chii:~en and some that are grown en end they are going
to live in tn linn For the next loo years, and he says this
is the last = \< vifh the Wommissioners as l Want to ne back ‘e
my plaoe.
(Bull Thender f. l sent to make e change in what l said to
the 'osmis: homes Yesterdey and want you Commissioners to
take pitv en ne :zH vnref to the tries l have fixed. ne
w nts you to snr: to £I.éb this is the lest meeting that i
mn going to ie\¢ wwen this meetiny in over we ere all going
home.
(White HuF?:l< le snf that the great father sent von
out here in t,;_ o them about their land, he says that the
first day ths* 'wv in a ta k with these lndians that thev
ulink it is to s. E ant so they talked whonp themselves end
Fixed the yrie‘ he that he wants to tell the “ommission
before ne goes ;w;v :hat he stickes to the priee, 1.46. He want
to go back to ;-m.

 

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ol.

 

 

 

 

 

(Sittin€ hall, rm goiny to 3 low Words to the lommiss-
ion this mornl»;. ne says that yes are dommisrionert come out
here to bay ti ,and hot l d`o'n't }';n(_r.v why you went a_:r_r-e to
what we want v)L `o xo. he says that the white people are
rich and hat vtr “ew are pyor hot that the lndians are poor.
lie save th-'m_. everything that is told them by the great
iather they o d ,e says tnet the reason th~t they did not
want to nive ny lend is becndse it is good land, there is
good grass cvz \" and everythinr they know is rood. d s.;s
dthat these ehieV: have already told you what they intend to
do and of coar‘ h o n't make any speeeh riflerent.
(hMedeine rite r ceman, says that he is not a chief hat
that no thodhhf .~ wald s lew words to the §ommissione‘s.
he sash I ‘na there are a h{od many dhe;ennes that
don't want to z their lands ann a few that do, and ii`yod
would agree to t trice we iixeo l think ther would all join
in it; it is:'¢r ‘:n» w~~ Whon we lease grass lands to the eat~
tlomen and somf » 30 Chevennes non't want to, it is the
sane way, and o get the t~" they want to come and join
in . do Wuntz id w_at is riant, le thinxs that it is not
in either pnr‘ 11‘ .s in the Mi dls.
(Wolf Hohe, J. o says that god are Listenihr and so arf
all those a~odto »s, and our great father sent you here.
Since the towni¢vidnero came mere he has listened and stud-
ied it over ar 11 very important hesiness. he says that
there is nothlr; wire that the dowmiasioners came for bet
to hay land o'l n:e indians here and they know when they own
to look at it , t was room and they want to hay it and the
price is fi<er iv the indians and it is hl.dn, he says that
the Indian-ean no' do as moon as the white men and them oaght
to have more m re. for their land.
(Woif Hoht, 54 lwerr has been two divisions of the ieonle and
l did not snow which side to take hot l think that it is a

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road and l have sent my
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rosn\ here, .Gw . What is all.
says that he is suing to tell the donmi sion- “
: ihrut the matter. fe says that he has tried

tc lend out how § an going to net my hood livin
nnd lt oat yethe says that he knows that the

1 vol to buy the land of the *ndlans. saw
flxe‘ the price at $l.io per acre and l know
will get oir good living and get a good

he

he is willinr to take his lands in
gets gl.fo per acre for his sarplus
he Wants the Commissioners to think over

 

that they have asked.
'ed, j.) de says that luz was working hard
h heard that t e dommlssioners were her
:r:, and the found sioners told him that th€T

. …-Wm~. ~Wm,..,.,… ~.... ~.r-'».»~ ., -' -- ..4=»<¢,» m....»~-'

 

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porous in t?:-j " :\911'-- ann not he living ah th

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and f"e:::jn~i.»:: wm t;»'.ici .")0;:/ p- 1' acre and the'_.-’
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them all down ; '.:nc£ when the !`1')11n:l cmt t
all Ov-er' twa \-1:':-11.‘-:1.‘-31, E'L:lt so haul about l

   

the }.lan and : !;-,m On :-34'1…2 t:_; and when
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that ‘.\1'0 3\)]_1 ‘.1:. this l::inrl f`m' I'n(ltan:: and
On it _,'<).,1 ;:4:1' :)--1. z.m‘»;‘ and tln, ;11'1v1.:r'm‘rlent 31
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14. to no With thc tveat; ant lon-
gresa may so i"ow $ongrnsh has ordered them to take hllot~
nwrms thai ‘! ' .ont pay any mone .

How we go un= 21 l the Fresideht that they woh't take allot-

 

ments and ha ; `- l will Order thom tn. Now what no you expect
them to in? £1~ Qonyress would not give them any more monoy
than we oiioi i¢m ;nd Gongruss Wiil hot give them any more

money than cnn)qz- to make §§l.Rh anci*hiat is what it paid for
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of the land w111her it wa§ Farminp land or gra§ino land; when

  

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gay so; thom w- n)nhider how much the indians ought 10 h&v¢

   

to fence two n ago boilo goi§es an§ be 03111€ Hn@ going 10
raise stock n r) hiv tools tit§ Fhr they art going to be

Farmers; then er in we estimate how much money wo ought to
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lndian hu§ ti"w ip before now,

 

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thoir home ih t; Strip, that ¢nd tho $Bb,ooo- would have
paid entitvn!; F»v iqoir vansan lands. N W th€v camC down
here and w h1ogh home§ for them haro, and paid the Cre?kg
and rominolu: i>H try acre for them for their Shart. Wow
that who simyiv 'wr Tndians to live on and not for whitea; now
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Indians evv tai rat Onlv to Occhpv 33 homes not to Sell to
the Governmowi iw' to anybody olso! 30 Wo ahree th&t we will
pay all the ]ni ong that have any claim lpon this land in
proportion to 131 n sh res we paid the Othwr: VQH and no al-
lotments and ii russo indians eliotm@nts and 31,500,000- .
hot vt 151 560,000 acres of the be$t of this land for
their homes ;~.i:£ 21 million and a half r)i" mone‘--‘ which is " mr

 

 

3 handred 1ho1;xn1 dollars more than the Cre@k§ an` Seminoles
got for their ;har@. Now the two amounts 05 mone, mhat was
paid last year tv the jreoko and heminoles Will amount to HI.B~
per acre wticw s the limit that Congrosa will yay for any of
these lands .

 

 

ltEVl<l)L)Ulll',LI AI \|"l l‘\)`-\Tl\',f\'.»'-.'lA"L:<:'»--

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=`l`
\J\_J.

Now these ln\.:ne never ewnee the tile of this land in fee, the
they only ewtsd lt te do with it as Jongrees would let them:
they could net lveue it without the consent Of the Government,
they can't evil it to anybody else but the Cevernment and

the Gevernmar1 ups the lawful rinht te fix the price that it
will pay for tlw lane. New that is the difference between
White people and lniiane; thev can eell a pony for Whatever
they please ann h §§tever tnejl

W@ vamc Were and have done exactly what the cove

rn~
n@nt wanted l tc du except that

Wc have fixed the money at e
little mere t“r the judgment et the eevernment. We yet a
telegram leon th~ Feeretary 03 the lhteriey telling ms txat en
far as the Vv-:ilenf is concerned that it was rather high.

And when wl fe back end tell the president that they Went
de what we W:r= ;1em to end l went Lett Hand to tell me what

the people ei: fl=n; to de when the president SayS; "I Will
have to exvc»‘¢ .\e law ae it io

m written“.
{ This le en f l~»t-J lnjun wne addreeeed
/' j adm¥l whose mama _ unable te eeeertein.}

C¢q§}§`§lv§¥@_ By that . c nevermnwnt retueee te jay ant
*§Urplae lende. ‘

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of wannattan, z

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'y ely genenling and our Suppevt and care
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ethers. lj':h .nve¢nment deem
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that l,§oe,nev !“ n* interest at h% or mere.

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Wi.liag to p¢y tr tc- Stri; bit we cjn't pay the whole to
galt cf the peu;t:. `ew the must sewieus thinr is that ii
they eay tHat ; wwn't trade l the lmmniesien jt that if
tee law is enl~ out i' does net give them amy mene? end net 30
much land as w- gs wine ley. lest nlrht before we went l tohl
them te ask yu enF zim erent ii`thie lea is net es l etated it
and 1 clen't t.l. ,' v »::-` t`!ici. ‘t`-.Fe LL')i‘t tile brink ever et tl:e
Agency 30 tk:t ii ~~'ld reed it te them. MOW in place cf lind
~inp eAt what it they were eFF lest might by themevlvee and
enid tney Wnpr t - y‘qine lut what they had mene.

a _....,. o.Me=¢W-.»-».~¢.-W<.."..».~M. »\»`-M, ..~. 4 »»~

 

 

PF|’RU\}L][IFD -’\T I\lL NAI'UNM i'-NC\ ‘l .‘l'.

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(White Lywd irt::o;;s A.} he gays that he WGnt to His father

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belonged to 1 l lHnd and ha SEid that he Wu rais€u in thia

 

country and \31"- bit vcvy littl; wl 350 Cherok€es.

 

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men that

 

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Presidcnt :F'- 4ar they shw»l¢ have the “hcrckee lands inv
their v“nn@ th'” agrwcd to pay what costb aho¢t ,5$,000

 

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and Congyssx 'ruw that they could 103 livc, that they codim
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bOCHJSE tdc l¢wv nmint looks Out IUV t

 

    

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foy his cwii=, §0¢ HUn‘F@S$ gen y ms Oit hero to tg]k to
tdc Indi: ?¢¢11¢¢ it ir ins th r gnmu; now if they don't
do what he asl; \:uw to what do they tbink MQ alll ?“

  

(Whitc chu /r!1 hyw, £.} to wwn't do anythign but raise corn

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great tathvv ~i ;v@ ws what Wu uxk for the land.
[Jerom€) @bt -, ~ 3 said dc nont. ~w--(W.E. ) iu SR?Q that

 

 

put thc gr&:t tan
on his l;nd ji: rw» aame._~~ (Le.t iHnw A.) J@ S§y:
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W§nt to Sh“k¢ hrf"

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for his lard - - ifmvom@) `

  

:r makes him nn
tv Wa&

to the imiian:‘ and t'rl<)_,!

 

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talk kindly an 11 au§ntlv to talk to these Old men and to
tell then:w»az ‘wg law was and what would happ@#t wa t

 

   

   

 

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33 much tamm 3'-\ - l the nnwk:y that the Uovcrnment Wi!€ permit
uS to givc. mr that twin is b ut FOr yOm and wm arc
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a livinw.

 

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l fvel about i‘ lt wwyu that 1 have 3 good V
hmaitk and s linch and when you talked tm thc lndians l
listened cat .: tc the lwmwissiun@rv and 1 Want to tell wha.
l think &hwdt rwen § had a to St gt toe cwqp last night l
is;zdiat l &ni goingv tO

toll the Connl »i~nevs tuday. l int tu“ Jomnissiumcr: to

l W&nt 31.2& and afttrward

:‘Y'm and gOc).-"

 

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art what bn t\ wis
you to come nix howe in.

ll thc !c')r-"nn`losir.)n-
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that h€ h;§ a good farm, houSQ_
and catzlv pov~v and that l wm going to t:lk about to
day. l W:li ;:- ywl who, linl. He 5 3 that no has boon

in favor of 111 rtl~n for 3 long while HC Swyo ti¢t no the
30nvnis:;iorarx

 
 
   

     

 

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dilfcronct tr v .»w other . that Whon the othtr chiefs
their toll t- ‘;- ‘ownissioner: and ol coor$c their t k is
good enuogo l 1 u:» opeouh is Foinv a little different. what
all that no "'nt t~ sav to the oommission is that in is in

 

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ovaity pvovi :‘ ‘uvt man, woman and Child gets loo acres of

   

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ho Wants the non s ionchs to roll who ge lt t;thov to koo}

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{Medicinc ijy‘, , ;

 

4 Say§ tnat Whon they had 2 te at at
the comp tlat t; talk@d atoms themselves and a good many wevv
in favor ol'\].i\ Thot all the v~onn poopl€ Worh in Fvvov
Of $I.Bo env 1; lo yeoyle '
aw&y but timl ;)-: ‘dvo bo

 

Wl.4h anG Will soon pass
to livo. OF course l know
that thc ‘omn: s onvrn pet hip pay flom

agent does nn ovllinp Mv

 

   

 

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load he gets F nig pilo wl monny.

   

Julv ]Ttt, lt&n.

   

slys that ne o~nt::‘;oo t<) listen to turn
` Fommls$ion to consider what ho is goinn o
._ t t his boon said to thc WOmmiSSioner:
y€St@any an\ 1 > v bulova he ia going to gay 3 littlo diiL

ferent toddy, vw t he is going to take the ‘onmissioners offet
that he is go:»; ta accept it but ho woqld like to have 2
million oo!lav` instead of 1,500,ooo~ and he Womtd Ri$e'to
have you dupo; ‘ rw@ monov in the Treasury. He wants b% inter-
esu. That is .l that he 15 going to gay to you but ne wants
you Gmm;ig;;»»=rw tn gonsidor the 3 millions-

 

‘(.C

 

~W.._W,N"...,M“ ,,… , . , 1…,"¢,,_..”.".. ...MM.WW ,¢ W~m».mw _w_., .n,.,~" M_~... W»»»~...~w..,.~.~.\.¢w,.,,...~ -.~. ..... »¢.~~~»~-\~-~'

 

lC[.U Al `l|t[ EW.HONAL Al<'f,'HN[i

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ll t'_) .
lCloud Cn:w!. ‘ `a the lna:vpyutov in not here l will take
Mr. Robt. bn wl o: lntorpfetor. go fo that all that ha hon

     

 

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id to you \:4 rhoay ann too day hoiov@ ho has not realized
all that he bna F~

 

 

and after he has taken all into consid-

eration nn 1; jt ny to sav nomethinr diffenent to von toy l
have consider-. ?ll thin mattCV and l EHV@ really gono too fan

 
    

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from what l taft s Ld. . Thet ho wants the Commisnionorn
to considnv 'w)v so that thcv can pive oveF l,hoo,ooo hut ho
wants the 'w n w:ionovs to connioof 3 million . that he wants

l,boo,ooo tv oz int in tho mr€asmry and boo,Ooo in CBSh, in-

   

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ova l want t\zn ‘~ considor. flt:r you have considored what

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I have §a:o *- "ox l shall he voady to hoar them tomoryow.

  

(Jcrome) How :t~ ,hm:iaaion t oln vevy good toward tuna

dianS heoaa:s zt-v wave akcn ao hugh pains to think ovGF
thin o@tttv! ¢= ore glad they aro trying to do what the gycai
father '..'an !4 ;=-‘ '\"1 :.io. No\=: while they nav{'; got the amount
of mont they can Hivu but if wo can find anything
that we uaw a little bettor wo will come mack tomorrow

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honofit wl W t `~ll go tomovhow monning.

Julv lttL, lo 0.
[Joromoj ll = ': too l£th our that WU :av@ had tolka Wlth
thin y-o]|v att »; :avo talkoo a groat many thjnyo. Tho lifo'

thing tna1 th o"luv-d on Waa tho amount of land, wnon vol tOL
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better how it g il at than to far ; tha Commisaion took that

 

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is nick

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donov with 1 \vtrnmont so that it will zlwa?n bo thovs ao
have uonc]wt‘l . raisn tho ratt oi lntar st to o% go that tha
voung men xvi -"rfhody can not the Cntit of leavinF it Huw€
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sav€ it hot ' at mont of von would stond it and yol Woild be s
poo? as two v;\ :vGV there With th¢ Fiyht of Wav, l gay this
30 that ywl ‘iz” body m:v;

   

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with tho uovv~:mwn< at inter~ot. Tho next t inc that wo

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askoo in z

 

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l l 11¢: hit the §on@v aunt be as it wu\

 

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again woai tr~ ‘r mission intends to do with yoo. Yon anall
have 160 acv» took man, woman and c ilu, hald corn land and

hill yaathvz ,;'v vol Sh:ll iavt a mg million O§ muncy

 

 

